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lN THE UNITED STATES DISTRICT COURT 5‘/./5§/ " /?

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FoR THE WESTERN DISTRICT oF TENNESS133 / 33 “-
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‘f CP,§`”{` (./ '//Wdi';.#
JERRY FosTER and wife, "”P§”
SUSAN FOSTER,
Plaintiffs,
VS. No. 05-1159-T/An

MERCK & Co., iNC., 131 AL.,

\-,/\-,/\_/\-,/\-,/\-,/\_/\-,/\__/\-,/

Defendants.

 

ORDER GRANTING MOTION TO STAY

 

Plaintiffs lorry Foster and Susan Foster filed this action in the Circuit Court of
Haywood County, Tennessee, on May ll, 2005, against Merck and Company, lnc., maker
of the prescription drug known as Vioxx. Plaintiffs also named as defendants certain local
Merck sales representatives and pharmacists Merck removed the action to this Court on
June lO, 2005, on the basis of diversity of citizenship, contending that the non-diverse
defendants Were fraudulently joined in an attempt to defeat diversity jurisdiction

Also on June 10, 2005, l\/lerck filed a motion to stay all further proceedings pending
a decision by the Judicial Panel on Multidistrict Litigation (“MDL Panel”) on Whether this
case should be transferred to the United States District Court for the Eastern District of

Louisiana as a “tag-along” action in MDL Proceeding No. 1657, In re Vioxx Product

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Liability Litigation. Plaintiffs filed a motion to remand the action to state court on June 20,
2005.

The MDL Panel issued the first Transfer Order establishing MDL-1657 on February
16, 2005. ln that order, the Panel Stated:

The pendency of a motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedings We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastern District of Missouri, as Well as in any other MDL»1657 actions can be

presented to and decided by the transferee judge. See, e.g., fn re Ivy, 901 F.Zd

7 (2d Cir. 1990); fn re Prudenrz'al fnsurance Company of America Sales

Practices Ll`tigation, 170 F. Supp. 2d 1346, 1347-48 (J.P.l\/[.L. 2001).
Transfer Order, at 2 (J.P.l\/I.L. Feb. 16, 2005).

The pendency of transfer to the MDL proceeding does not limit the authority of this
Court to rule on the plaintiffs’ motion to remand. S_e§ JPML R. 1.5. The decision Whether
to grant a stay is vvithin the inherent power of the Court and is discretionary E Landis v.
North Am. Co., 299 U.S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel’s decision on transfer, see, e.g., Kantner

v. Merck & Co. lnc., No. 1104CV2044-JDT-TAB, 2005 WL 277688 (S.D. Ind. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has
been filed. E.g., Anderson v. Merck & Co.` Inc., No. 4:05-cv-89 (E.D. Mo. Mar. 16, 2005);

McCrerey v. Merck & Co.. lnc., No. 04-cv-2576 (S.D. Cal. Mar. 2, 2005); Dixon v. Mercl<

 

& Co. Inc., No. 05-0121 (S.D. Tex. Feb. 23, 2005).

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There are several other Vioxx cases already pending in this district, and possibly
thousands more in other districts. In many of those cases, the joinder of non-diverse
defendants is contested and motions to remand have been or Will be filed. Thus, the
jurisdictional issues raised in this case are similar to those raised in other cases that have
been or Will be transferred to the MDL proceeding

The Court finds that having the jurisdictional issues decided in one proceeding Wi11
promote judicial economy and conserve judicial resources In addition, the Court finds that
any prejudice to the plaintiffs resulting from a stay Would be minimal. However, in the
absence of a stay, the risk to Merck of duplicative motions and discovery is significant

For the foregoing reasons, Merck’s motion to stay pending the MDL Panel’s transfer
decision is GRANTED. The motion to remand is deferred to the transferee court.

lT IS SO ORDERED.

%>v twa

JAM D. TODD
D STATES DISTRICT JUDGE

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DATE

 

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Honorable .1 ames Todd
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